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 1                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 2
 3   UNITED STATES OF AMERICA,                         Case No. 2:05-cr-207-KJD-GWF
 4                 Plaintiff,                          ORDER
 5          v.
 6   BRANDON CONWAY,
 7                 Defendant.
 8
                                             ORDER
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10          IT IS THEREFORE ORDERED that defense counsel’s supplement to Defendant’s

11   Motion for Compassionate Release (ECF No. 48) currently due on Thursday, November 5,

12   2020, be vacated and continued to Wednesday, November 25, 2020; and that the Government’s

13   response to Defendant’s supplement shall be due on Wednesday, December 9, 2020.

14          DATED this 9th day of November 2020.

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                                               UNITED STATES DISTRICT JUDGE
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